         Case 1:19-cv-08655-LGS Document 246 Filed 11/21/22 Page 1 of 2




 OUTTEN & GOLDEN LLP
 Cara E. Greene
 Gregory S. Chiarello
 Shira Z. Gelfand
 685 Third Avenue, 25th Floor
 New York, New York 10017
 (212) 245-1000

                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


 ULKU ROWE,

                            Plaintiff,

                    v.                               Case No. 1:19-cv-08655 (LGS)

 GOOGLE LLC,

                            Defendant.




                            MOTION FIVE:
    PLAINTIFF’S NOTICE OF MOTION TO BE PERMITTED TO ASK LEADING
       QUESTIONS DURING DIRECT EXAMINATION OF DEFENDANT’S
                  CURRENT AND FORMER EMPLOYEES


       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in Support

of Plaintiff’s Motion to be Permitted to Ask Leading Questions During Direct Examination of

Defendant’s Current and Former Employees, Plaintiff Ulku Rowe, by and through the

undersigned counsel, now moves this Court, before the Honorable Lorna G. Schofield, at the

United States District Court, United States Courthouse, Courtroom 1106, 40 Centre Street, to

grant Plaintiff’s Motion in Limine pursuant to Judge Lorna G. Schofield’s Individual Rules and

Procedures, Rule IV(B)(3). Plaintiff respectfully requests that the Court enter an Order granting

her Motion in Limine.


                                                1
         Case 1:19-cv-08655-LGS Document 246 Filed 11/21/22 Page 2 of 2




        PLEASE TAKE FURTHER NOTICE that, pursuant to this Court’s October 14, 2022

Order, ECF No. 225, any response to this motion shall be filed by December 5, 2022, and no

reply shall be filed.

 DATED: New York, New York                        Respectfully submitted,
        November 21, 2022
                                                  /s/ Cara E. Greene
                                                  OUTTEN & GOLDEN LLP
                                                  Cara E. Greene
                                                  Gregory S. Chiarello
                                                  Shira Z. Gelfand
                                                  685 Third Avenue, 25th Floor
                                                  New York, New York 10017
                                                  Telephone: (212) 245-1000
                                                  Facsimile: (646) 509-2060




                                              2
